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                                                   day ofDecember,2004,by and between PAT CIA
                 M.KLUGE lthee'Crrantor''),andKLUGE ESTATE W INERY AND VINEYARD,L..C.,a
                 Virginia limlted liability company (the qfrantee''
                                                                  ),whose address is 3414 Ellerslio rive.
                 Charlottesvllle,Virginia22902,
                                                    W IT N E S S E T H :
                           For and in consileration ofTen Dollars($10.00)cash in band paid,the receitand
                 sumciency ofwhich areherebuy acknowleged.Grantordoeshereby GIG NT!BARGAm ,SELL
                 and CONVEY with SPECIAL W A           Y unto Grantee allofthosecertmn lotsorpare1sof
                 land lccated in Albemarle County, Virginia, more paricularly described on the atached
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                           The conveyanceia made expressly subjecttc cascmonts,conditions,restrictio and
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             W illlam E, SHM IDHEISEK 111, Acting Substitute Trustee, Grantor (for index g
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                         LLC,jyirginlalimitedliabilitycompaoy,Orantee.
                             W HEREAS,Kluge Estate W inery and Vineyard,LLC.a Virginia limi d
             liabilitycompany,by Patricia Kluge,DirectorofKlugeEstateW inery and Vineyard,L ,
             conveyed by a CreditLine Deed ofTnlstdated April27,2097,certain property ther in
             describedandshownnnExhibitA hefetotthel'RealEstate'')toAlP.Saufley,IJand(
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             Vineyqrd,LLC,aVirginialimited liabillty company)totheBeneficiary Farm Credit f
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               oovenxts and agreements herein; (b) Any renewals, cxtensions, retinanc ,
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           the origind GrantorremainstheowneroftheProperty atthetimeofsuch advanoesl';
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Albemarle Coqnty,Viqini. in Deed Book 3409,at Page 49s (InstrumentNo.20 7-
09006475)CtiltCreditLlneDeedOfTrustdatedApril27,20077)and
             W IIEREAS,Kluge Estate W inery and Vineyard,LLC,a Virginia Iim ed
liabilitycompany,byPatriciaKluge,DirectorcfKlugeEstateW ineryand Vineyard,L C,
exectlted an AmendmentTo CreditLine Deed OfTm stdated July 19s2097,w ch
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 wreaxd Gemaxlmum prinçipalmnountiecured by tlw convoyed by theCredit nt
DeedofTrustdatedApril27,2907by$1,800.009(to$34,800,Q00),whiuhAmendment o
CreditLlneDeed OfTrustdated July 19,2097 isrecorded ln theaforesaid Clerk'sOf ce
inDeedBook3442,atPage 62(InstrumentNo.2007-00011s11)CtheAmendment ()
CreditLineDeedOfTrustdatedJuly19,2(*7':
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            W HBREAS,Kluge Estate Wfnery and Vineyard,LLC,a Virginia lfmied
liabilitycompany,byPatriciaKlugr,Diredo!ofKlugeFastateW ineryandVintyard,L C,
executed aSecond AmendmentTo CreditLine Deed OfTm stdated M ay 6,2009,wh'h
increased the maximum princi
                           palamountsecured by the conveyed by the Credit L'e
Deed ofTrustdated April27,2007,aspreviously modised,by an additional$5,000,0 0
(to$39,:00,000),whichSecondAmendmentTcCreditUneDeedOfTrustdatedMay6,
2009 is recorded in the aforesaid Clerk's Office in Deed Book 3731,at Page 6 6
(InstrumentNc.2009-00005764)CtheSecondAmendmentToCreditLineDeedOfTfst
datedMay6,200933;and
            W HEREAS,the CreditLine Deed OfTl
                                            -ustdated April27,2007,toget r
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     lle Amendmvntto CreditLine Deed OfTrustdated July l9,2007 M d the Soco d



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           theVirglniaw ACA designated W llllam E.Shmidheiser,Ill'
                                                                 and Narmy R.Schlichtin as
           ActingSubstàtute Trustees,eltherone orboth ofwhom mayact,undertheaforementi ncd
           CrtdilLineDeed ofTrustwithRllpowertoGct;and
                        W HBRBAS,defaulthaving been made in thepaymentofthe indebted ess
           secured by said Credit Line Dted cf Trust,tbe holder cf tht note,
                                                                           s evidencing the
           obllgatinnssecvredby theCreditLineDeed cfTrustrequired thatsaid SubstituteTrusees
           execute tlletrtat.declarlng the indebtednesssecuredtheretmderto bedueandpayable, d
           to makesaleofsail propertyasprcvidedby saidCreditLineDeed ofTrust;and
                        W HERBAS,writtennoticeofsuch prnposed sale wassentby cedified ail
           fo KlugeEstateW ineryandVineyard,LLC c/o W llliam 1.M oses,itsRegistertd Agen to
           Kluge Bstate W inery and Vineyardx LLC c/o Patricia Kluge, its Direotor;to W illam
           M usesandPatriciaKluge,individually;to Edward B.M acMahon,Jr.,Esquire,connselfor
           W llllam M oses and Patricia Kluge;and tc Leslie J.Goldman,Esquire,Kelvina S ith
           M core,Estpire,and W illiam S.Scherman,Esquire,counselforKluge Estate W inery nd

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           Vineyard,LLC,nn October28,29l0sand aherdue advertisementln theDailyProgress,
           newspaperpublished ;nd having generalcirculation.in Albemarle County,Virginia,o
           five(5)sucçtesive Saturdays: Nnvember6,l3,20,27,andDecelnber4,2010)and i
           4TheHook,''a newspaperhavinga generalcirculation in Al
                                                                bemarleCounty,whereln th
           Property islocated,cn five (5)successive Thursdays: November4, 11,18,25,an
           December2,2010,W illiam E.Shmidheiser,111,Acting Substitute Trustee,and Fa
           CreditoftheVirginias,ACA,asbeneficiaryand secuod party,did oftkrsaid Prom rt
                                                                                      yf
           sale atpublic auction on W ednesday,December 8,2010,at 12:00 noon atthe Auctio
           Pavilion, l00 Grand Cru Drive, Albemarle County. Virginia, and upcn competitiv
           bidding,the Property was sold and knocked down to Fann Creditofthc Virginias,AC

           forthepriceûfNineteen MillionDollars($19,000,
                                                       000.0Q),with Seventeen Million On
           HnndredFinyThousandDollars($17,150,000.00)attributabletotheRealEstate;and
                       W HEREAS,Farm Credlt ofthc Virginias,ACA has assir ed its bid t
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            antee,Grand Cru Properties,LLC,and hssdirected the Orantor to makethc Deed t
           Grand CruProperties,LLC,asGrantee,
                       NOW ,THEREFORE,THISDEED madethis7th dayofFebruary,201l,b
           andàetween William E.Shmidheiser,IIlsActingSubstituteTrustee,Orantor,andGran
           CruProperties,LLC.Orantee.
                                         W ITN E S SE T H:
                       Thatforand in ccnsiderationofthesum ofSeventeenM lllion OneHundre
           FihyThousandDollars($17,150,
                                      000.
                                         00)cashinhandpaidbytheOranteetotheGrantor
           tie receiptofwhlch i,hereby acknowledged,theGrantorhereby g'
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           SpecialW arranty ofTitleunto saidORAND CRU PROPERTIES,LLC,Grantee,in e
           simpk,theproperty in AlbemarleCounty,Virginiadescribed onExhibitA,attached.

                        This preperty isconveyed subjectto the terms of(i)the conservati1)
           easementgranted to the Virginia Outdoors Foundation ofrecord in the aforesaid Cler 's
           Officein Deed Book 2890 atpage 622,(ii)the conservation easementgranted to te
           VirziniaOutdcorsFcundationofrecordin theaforesaidClerk'sOfficein Decd Bcck 3l S
           atpage275.

                        Farm CreditoftheVirginias,ACAjoinsintlésDeedforthesolepurpose f
           evidencingtheAssignmentofitsbidtcGrand CruProperties,LLC,
                        Rcference is hereby made to the Preamble of this Deed for furtl r
           descriptionofthescurceandderivation oftitle.


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                                                            W illiam E.Shmldheiser,llI
                                                            Acting SubstituteTrustee
           S TE OF VIRGINIA
           CIT COUNTY OF            -                    ,to-wit:

                        The rtgoinginstnunentwasacknowledgedbeforemein thejurisdicti1
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           dbrqsRid this         day ofFebnzary,2011,by W ILLIAM E.SHV DHHSEK I ,
           ActingSqbstituteTrustee.
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                              IN W ITNBSS WHEREOF,Farm Credit of the Virginias,ACA has caused th s
                       deedto beexecuted in itsname and on itsbehalfbytheundersignedondueauthority.

                                                                   FARM C DIT OF THE VIRGINIAS,AC
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                       s TE OF VIROINIA
                         IT COUNTY OF                ' tu         ,lo-wit:
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                       aforesaid this          day of February,20l1,on behalf of FARM CREDIT OF TH
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                                    EXHIBIT A - REAL ESTATE DESCRIPTION
              TM P 102-37:
              AI1thatcertain tractorparcelofland situated i
                                                          n theCountyofAlbemarle,Virginia,loca d on
              St.teRoutes627and 727,containing 78.1251Rcres,moteorless,shown on aplatby B. brey
              Huffman & Associates,Ltd-,lated February 8,1984:and recorded in the Clerk'sOflice fthe
              CkcultCoul ofthe County ofAlbemarle,Virginla,ln De/ Book 789,page 1:79LESS ND
              EXCEPTal1thosecertainstripscrparcelsoflandcenveyedtotheCommonwealthofViq i'ain
              Deed Book821,page493;and Deed Book821,page497.
              TM P 102-37P:

              A1lthatctrtainlctorparceloflandlyingonStattRoute727inAlbemarleCounty,Vi inia,
              beinq moreparticularly described asLot9,containing 2.022 acres,on platofBlen ood
              Subdlvision,by R!.O.Snpw andAssociates,C.
                                                      L.S.,datedMay 23,1975:and recorded n tlle
              Clerk',OmceoftheCircuitCoertofAlbemarleCnunty,Vjrgini
                                                                  ainDéedBook577,page 78.
              TM P 102-358:
              A11thatcrrlain tmctorparcelofl= d situ.led in theCcunty ofAlbemarle,Virginia,loqatd on
              StateRx te,
                        s627and727,containlng61,9505acres,mcreorIess,shownonaplatbyB.A brey
              Huffman & Asacciates,Ltd..dated Februm'y24,1932,and recorded in theClerk'sOm ce fthe
              CircuitCourtofAlbemarleCounty,VirçlniainDeedBook 224,page72;LESSAND EX EPT
              a11timsecertRin strlpsorparcelsoflK dconveyed totheCommonwealthofVirginiain eed
              Book 321,page 493,andDeedBook 821,page497.
              TM P102-09:
              A1lthatcertain lotorparcelofIand situited in tlp County ofAlbemarle,W rginia,oont 'ning
              94.260 acrea,moreorless,sbown ona platby M .M .Van Doren,Surveyor,dated Febnt 16,
              1932,andreccrdedintheClerk'sOm cecftheCircuitCourtofAlbemrleCounty,Virgiiain
              Deed Book515,page328.
              TMP 103-10A:
              Allthatcertain tractorparcelofland situated in theCounty ofAlbemarle,Virginia,locatd cn
              StateRoutes627and727,oontaining22,7529ucres,mor:crless,shownonaplatbyB.A brey
              Husman& Associates,LtdudatedFtbruary24,1922,andrecerdeditltheClerk'sOffioe fthe
              CimuitCnurtofAlbemarle County,Virgi    ni:in DeedBook 824,page 73;LESS AND EX EPT
              alltlmx certain Jtrips orparcels cfland conveyed to theCommonwealth ofVirginia in eed
              Book321,page493,and DeedBook 821,page497.




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              TMP 103-11

              AI1thqtœrtaintractcrparceloflandsituatrdinAlbemrleCounty,Virginia,contairlinj) .41
              acres,moreorless,shownasTMP 103-1,onaplatbyOloecknerEnginetrin#suweylng,Inc.,
              dqted oçtoberl5,2004,K drecordd intheClerk'sOtliceofthe CircuitCoqrtofAlbe arle
              Ccunty,Virginia.in Deed Book 2894,page 649 and 650;TOGETHER W ITH anon-excl ive
              easementforingreesand egressQver50'uprivate Road.''c= entlyknown asEllerslieDri e.as
              slmwnenaplatrrcol:ed in Deed Book 393,page 555.
              TMP l03>1B:
              A1lthatcertain tr:ctorparcelofland situ:ted in AlbemarleCountyjVirginia,contqining 5.
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              acres,moreorless,mere particularly describd asNEW T.M .103-1B,on a platby Oloe kner
              Engineering/surveying.lnc.,dated May 16,2005,revised Nnvember10,2005,and record in
              theClerk'sOfsceoftheCircuitCcurtofAlbemarleCounty,VirginlainDeedBook31I7. ages
               171Qlroqgh174.
              TM P 102-35A:
              Allthatcertain parceloftractofland situated in AlbemarleCounty,Virginia,containing 1'10
              acres, more or les:, shûwn as NEW T.M. 102-35A on a plat by Oloekner
              Engineering/surveying,Inc.dated M Ry 16,2005,levised November 10,2005,and Jecord d in
              theClerk'sOfficeoftheCircuitCoud ofAlbemarleCounty,Virginiain DeedBook:11l7, ges
               l7lthrough 174)TOOETHBR W ITH anon-excl      usiveem ementforingressand egressove 30'
              rightofm y easementasshown and setforth nn platrecorded in Deed Book 3117,page 171
              thrx gh 174.
              TMP l03-1C:
              Allthatteri n !otorparcelofland siluated in Al
                                                           bemarlc County,Virginia,containlng l.
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             acres,moreorle4s,slmwnasTMP 103-1C,onaplztbyOleecknerEngineerin#surveyinw nc.,
             dated October15:2094,and recorded in the Clerk's OE ce cfthe CircuitCourtofAlbe arle
             Ccunty,Virginia 1: Deed Book 2#94,pages649 and 6509TOGETHER W ITH anon-excl sive
             easementforingressR d egressnver599t'PrivateRoadj''currently known asEllerslleDriv ,as
             shownonplatreccrded i .nDeedBook398,page555.
             TM P l03-1E:
             Allthatcertain 1otorparcelofland situatedin AlbemarleCounty,Virginia,containing 3 .73
             Rcres,moreorless,shownasTMP 103-lE,onaplatbyGloecknerEny-
                                                                     lneerin#surveying,nc.,
             datedOcteher1522004,andrecordedintheCltrk'sOfsceoftheCircuitCourtofAlbe arle
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                  79acre:,moreorless,shown asParcel3 andParcelE.respectively,butlessand exc p!a
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             2û03,revisedNovember 10,2005,and recorded in the aforesaid Clerk's Office in Deed ook




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           2l17,pages 171 through 174)TOOETHER W ITH a non-exclusive easementfor ingressand
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           DtedBook398,page555.
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           dated October l5,2004,and recorded in theClerk's OffceoftheCircuh CourtofAlbe Rrle
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           acres,mol'
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          This instrument wae prepared bY Douglas C. Carter, Aetorney
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               THIS DRDD, xade thts 9bh day of May? 2011/ by and bet en
          GRYND CRU PRQPERTIZS, LLC, a Virginia limited liability comp Y.
          party of the first part, hereinafter referred to as Grantor, nd '
          TRUMP VINRYARD RSTATBS LLC, a Delaware limited liability comp y,
          party of the second part, hereinafter referred to as Grantee, w se
          addzeas Js 725 5th Avenue, 26th Ploor, New York, NY 10022, A tn;
          Ms. Stephanie Lennig



                                   W IT N B S S :


               That for and in consideration of the Bum of $10.00, cas in
          hand paid, and other good and valuable consideratton, the rec ipt
          of which is hereby acknowledged, the Grantor doea hereby G       .
          BARGAIN AND SELL and CONVEY With SPECIAL WARRANTY OP TITLZ unto the




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            Grantee in fee rlmpze absolutep togeeler *1th all improvem ts
            thereon and appurtenancea thereeo, ehe followlng descrlbed prop ty
                 Trace 6, comprised of ehe following parcelsl
                       all that certain tract or parceà of land situated in
            Albemarle County, Virginia, contafnïng 144.41 acres, more or l s?
            sbown a: TMP 103-1 on a plat by Gloeekner ingineering/survey' g.
            Inc,, Gated October l5, 2004, and recorded in the Clerk's Offic of
            the Circuit Court of Albemarle County, Virgfnia, in Deed Book 2 94p
            pages 649 and 650; together with a non-exclusive easement 2or
            ingress over 50' 'Private Road/'  î currently known as Bller lie
            Drive, as shown on a plat recorded ln Deed Book 392. page 555; and
                 2.    all that certain tract or parcel of land Bituate      in
            Albemarle County, Virginia, containing 85.65 acres, more or l ss,
            more particularly described as N:W T.M. l03-1B on a plat by
            Gloeckner Ensineering/surveying. Inco dated May 16, 2005, rev sed
            November 1Q, 2005, and recorded in the Clerk's Office of the
            Cireuit Court of Albemarle County, Virginia. in Deed Book 3 17,
            pages 171 through 174, together with a quit claim of any inte est
            Grantor has to the non-exclusive easement for ingress and eg ess
            over J0' rïghe of *aY easement as shown and see forth on        lat
            recorded $n Deed Book 3117. pages l71 through 1742 and
                 3.    all that certaln tract or parcel of land sieuabe      in
            Albemarle County, Virginia, contatning 81.10 acres, more or l sa,
            :hown     as   NgW   T.M.   l02-3SA   on   a   plat   by   Gloec ner
            :ngineering/surveyàng, Inc,, dated May 16, 20ûS, revised Nove er
            10, 2Q05, and recorded in the Clerk's Office of the Circuit C urt
            oe Albemarle Countyl Virginia, in Deed Book 3117, pages l71 th ugh




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            1744 together with a non-exclusive easement for ingress and egr ss
            over 30' right of way easement as shown and set forth on p at
            recorded in Deed Book 3117, pages 17l through 174) and
                4.    all that certain lot or parcel of land situated in
           Albemarle County, Virginia, containing 1141 acres, more or le s,
            shown as TMP l03-1C on a plat by Gloeckner Engineering/surveyi g:
            Incw dated October l5, 2004, and recorded in *he Clerk's Offic of
            the Circutt Court of Albemarle County, Virginia, ln Deed Book 28 4,
           page: 649 and 650; together with a non-exelusive easement        or
           ingress over 5:' ''Prtvaee Road,l
                                           ? currenely known as Dller te
           Drive, as shown on a plat recorded in Deeu Book 398, page 5552 nd
                5.   a1l tbat certatn lot or parcel of land situated in
           Albemarle County, Virginia, containing 327.73 acres. more or 1 ss,
           shown as TMP l0J-1E on a plat by Gloeckner Engineerlng/survey ng,
           Inc., dated Octobez l5, 2004, and recorded in the Clerk's Offic of
           the Ctrcuit Court of Albemarle County, Virginia, in Deed Book 2 94,
           pages 649 and 659, together wieh and including 0.05 acres and   .79
           acres, more or less, shown ag Parcel B and Parcel D, respeceiv ly,
           but less and except a 0.58 acre correction as shown on a pla b#
           Gloeckner Engineering/surveying, Inc., dated May 16, 2065, rev sed
           November l0, 2005, and recorded in the Clerk's office of the
           Circuie Court of Albemarle County, Virginia, in Deed Book 3 l7,
           pages l7l through 174, together with a non-exclusive easement for
           ingress over 50' ''Prlvate Road/ll currently known as Elle lie
           Drive, as shown on a plat recorded in Deed Book 398, page 555, and
           together vith any rights as successor to the declarant under that
           certain Deed of Prlvate Road and Maintenance Agreement, dated , of




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            August 28, 2005, by Kluge Rstate Winery and Vineyard, L.L C.
            recorded tn Deed sook 3020 at page 316; and
                 6.   all that certain tract or parcel of land situated in
           Albemarle County, Virginia, contatntns 3.01 acres, more or le s,
            shown as TMP 103-1F on a plat by Gloeckner Engineering/surveyi g,
            Inco dated October l5, 2004, and recorded in ehe Clerk's Offic of
            the Ctrcuit Court of Albemarle County, Virginia, in Deed 3ook 28 4,
           pages 649 and 650; together with a non-exclusive easement        or
           tngreus over 50/ '
                            fprivate Road,'' currently known as Ellers ie
           Drive, as shown on a plat recorded in Deed Book 398, page 555,
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                      al1 that certain tract or parcel of land situated in
           Albemarle County' virginia, containins 4.14 acres, more or 1 B,
           shown as TMP 103-lG on a plat by Gloeckner Fngineering/survey'ngr
           Incw dated Qctober l5, 2004, and recorded in the Clerk's Qffic of
           the Circuit Court of Albemarle County, Virginia, tn Deed Book 2 94,
           pages 649 and 650: together with a non-exclusive easement for
           ingresa over 50' I'private Road,'l currently known as Eller lie
           Drive, as shown on a plat reeorded in Deed Book 398, page 55s
                All parcels were conveyed to the Grantor heretn by dee of
           William E. Shmldheiser, IIT, Aceing Substitute Trueeee, d :ed
           Pebruary 7, 2û11p and recorded in the Clerk's Offtce of the Cir uit
           Court of Albemarle County, Vtrginia, in Deed Book 3997, page 51,
                The herein described property is conveyed subject to the t rms
           of     conservation easement granted to tbe Virginia Out ors
           FounGation recorded in the Clerk's Office of the Circuit Cou     of
           Albemarle County, Virginia, in Deed Book 3113, paie 275.




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                                 Itg Manager and Authorized Agent



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